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                           UNITED STATES DISTRICT COURT
                                      FOR THE
                               DISTRICT OF COLUMBIA

CRIMINAL ACTION NO. 1:21-MJ-00130

UNITED STATES OF AMERICA                                                            PLAINTIFF

Vs.

JORDAN T. REVLETT                                                DEFENDANT
______________________________________________________________________________

                     NOTICE OF ENTRY OF APPEARANCE
______________________________________________________________________________

       Comes the undersigned counsel, who respectfully provides notice to the Court that

undersigned counsel shall appear as retained counsel for the Defendant, Jordan T. Revlett, in the

above captioned case. Please forward any and all correspondence to the contact information

listed below.




                                                    Respectfully submitted,

                                                    /s/ Bryce L. Caldwell
                                                    Bryce L. Caldwell (KY #92874)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 1st, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notice of the electronic filing to all
parties of record.

Hon. Candice Wong
Assistant United States Attorney
United States Attorney for District of Columbia
555 4th Street NW
Washington, DC 20530
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                                                     Respectfully submitted,

                                                     /s/ Bryce L. Caldwell
                                                     Bryce L. Caldwell (KY #92874)
                                                     Attorney for Defendant




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